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UNITED STATES DISTRICT COURT
WESTERN DIS'I`RICT OF TENNESSEE
Western Divisioo

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UNITED STATES oF AMERICA `
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bLth-'\, U.S. D|ST. CT.

_vs_ Case No.W£D§Bi'£O§SVE-M§'HS

MILTON JOHNSON

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUS'I`ICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Accordingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A)'.

APPOINTMENT OF COUNSEL

- The Federal Public Defender is appointed as counsel for the Det`endant.
TYPE OF APPOINTMENT
~ Other Defendant to pay $100 per month toward costs. Payment due the lst day of
each month. '

DONE and ORDERED in 167 North Main, Memphis, this 32 r-l» day of June, 2005.

S. THOMAS ANDERSON
UNTI`ED STATES MAGISTRATE _TUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Office

Assistant Federal Public Defender
Intake

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Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CR-20187 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

 

Katrina U. Earley

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Honorable Sarnuel Mays
US DISTRICT COURT

